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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI-DADE DIVISION

   ZAGG INC,                                          Case No.: 1:23-cv-20304-ALTMAN/REID

                 Plaintiff,

   v.

   MENACHEM MENDEL ICHILEVICI;
   TX TRADING INC.;
   DVG TRADE LLC; and

                 Defendants.
                                                  /

   DVG TRADE LLC,

                 Counterclaim-Plaintiff,

   v.

   ZAGG INC., SCREENYA, LLC,
   MERRIL LONGMORE, and
   BRENDAN BUCKNER,

                 Counterclaim-Defendants.
                                                  /


                DVG TRADE LLC’S REPLY MEMORANDUM IN FURTHER
             SUPPORT OF ITS RENEWED MOTION FOR RECONSIDERATION
                  OF THE COURT’S AUGUST 28 DISCOVERY ORDER

          Defendant DVG Trade LLC (“DVG”), respectfully submits this Reply in further support

   of its renewed motion (ECF No. 230, “Motion”) seeking reconsideration of the Court’s August 28,

   2024 discovery order “requir[ing] DVG to produce ‘Order Details’ of ZAGG products sold by

   DVG from 2020 to the present.” (ECF No. 210, “Order,” ¶ 2.)
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   I.     INTRODUCTION

          As explained in DVG’s Motion, reconsideration is warranted because: (1) the underlying

   factual basis for finding that the “Order Details” are relevant is incorrect—the “Order Details” do

   not “contain information regarding the condition of the products at issue, whether new or used”;

   and (2) it would be a significant business and financial hardship to DVG to comply, as well as a

   significant personal and financial hardship to Defendant Menachem Mendel Ichilevici.

          Plaintiff Zagg Inc. (“Zagg”) does not dispute either of these two facts. Nor does Zagg

   dispute that it deliberately misrepresented the nature of the “Order Details” to the Court in order

   to obtain the Order. Instead, the gist of Zagg’s Opposition is that DVG is harping on a

   “technicality.” (ECF No. 246, “Opp’n,” at 1–2, 15–16, 19.) Zagg argues that reconsideration is

   somehow inappropriate because “neither the Court nor ZAGG care about where or how DVG

   collects . . . condition information.” (Id. at 15 (emphasis in original).) Zagg even goes so far as to

   rewrite the Order for the Court, asserting that “[t]he Court has ordered DVG to produce [condition]

   information, full stop, whether it comes from the ‘Order Details’ page or another source.” (Id.)

          While DVG takes this as a concession from Zagg that it does not actually need the “Order

   Details” pages that it insisted that the Court compel DVG to produce, DVG is not so cavalier as

   Zagg as to disregard the Court’s Order. And what the Order says is that ‘DVG [must] produce

   ‘Order Details’ of ZAGG products sold by DVG from 2020 to the present.” (Order ¶ 2.) As

   explained, such a production would take Mr. Ichilevici almost four months of full-time work or

   upwards of $100,000. (Mot. at 8; ECF No. 230-1, “Ichilevici Decl.,” ¶¶ 115–16.) And such a

   laborious task would all be for naught because the “Order Details” pages do not include any

   information whatsoever about the condition of the products at issue in this litigation.

          Zagg’s argument that DVG is attempting to avoid producing the condition information is

   blatantly false. The fact is that Zagg never asked for this information while discovery was open,


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   and there are no documents in DVG’s possession that contain this information. But, as Zagg admits

   in its Opposition, DVG offered to “pull data from Amazon to produce a chart showing sales of

   Zagg products, by ASIN, showing the listed condition, units sold, and average sale price.” (ECF

   No. 246-7, Ex. G at 4.) Because Zagg would not even confirm that those were the categories of

   information that it was looking for (id. at 1), DVG was forced to file this Motion for

   reconsideration. (Regardless of the outcome, DVG intends to produce the above-described chart;

   indeed, the condition information further undermines Zagg’s claims.)

          Accordingly, for the reasons set forth herein and in DVG’s opening Motion, DVG

   respectfully requests that the Court modify its Order and deny “ZAGG’s request to require DVG

   to produce ‘Order Details’ of ZAGG products sold by DVG from 2020 to the present.”

   II.    ARGUMENT

          A.    Zagg Does Not Dispute that the Court’s Order Is Premised on Erroneous
                Factual Findings

          A motion to reconsider is “appropriate where, for example, the Court has patently

   misunderstood a party, or has made a decision outside the adversarial issues presented to the Court

   by the parties, or has made an error not of reasoning but of apprehension.” Mesa v. Pennsylvania

   Higher Educ. Assistance, No. 16-CIV-24577, 2018 WL 624492, at *1 (S.D. Fla. Jan. 30, 2018).

   Thus, reconsideration is appropriate here because the more than 40,000 screenshots that the Court

   has ordered DVG to produce do not “contain information regarding the condition of the products

   at issue, whether new or used,” but the basis for the Court’s Order was that they do. (Order ¶ 2;

   see also ECF No. 217, 8/28/2024 Tr. at 32:16–23 (“THE COURT: . . . I have information today

   from [Zagg’s counsel] that [the Order Details]” have information about condition.).)

          As explained in DVG’s Motion, Zagg intentionally misled the Court at the August 28, 2024

   discovery conference on this issue. (Mot. at 4–8; see also Ichilevici Decl. ¶¶ 7–14, 18–23.)



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   Tellingly, Zagg does not dispute this, or any of the facts laid out in DVG’s Motion, including that

   the “Order Details” do not include condition information. This fact alone warrants the granting of

   the instant Motion; reconsideration is justified to correct clear and undisputed error. UMG

   Recordings, Inc. v. Vital Pharms., Inc., No. 21-60914-CIV, 2022 WL 19404297, at *1 (S.D. Fla.

   July 7, 2022).

          While Zagg does not dispute the clear error forming the basis for the Order (or that the

   reason for such error was Zagg’s misrepresentations of fact), Zagg has the gall to argue that this

   “technicality” does not warrant reconsideration. (Opp’n at 15.) In order to avoid acknowledging

   that it misled the Court, Zagg attempts to re-write the Order by claiming that the “[t]he Court has

   ordered DVG to produce the information, full stop, whether it comes from the ‘Order Details’ page

   or another source.” (Id.) But DVG would not be so bold as to presume it can just ignore the plain

   language of the Court’s Order. The Order requires DVG “to produce ‘Order Details’ of ZAGG

   products sold by DVG from 2020 to the present.” (Order at ¶ 2 (emphasis added).)

          Zagg also claims that “neither the Court nor ZAGG care about where or how DVG collects

   the highly relevant sales and condition information.” (Opp’n at 16 (emphasis in original).) Again,

   Zagg’s argument that DVG should disregard the plain language of the Court’s Order only supports

   DVG’s request that the Order be modified.

          Further, as Zagg admits, DVG proposed a solution that should have resolved this matter

   without Court intervention. Specifically, counsel for DVG investigated whether there was a way

   to provide the condition information for the accused ZAGG-brand products it sold, and informed

   Zagg that it believed that had found a way to “pull data from Amazon to produce a chart showing

   sales of Zagg products, by ASIN, showing the listed condition, units sold, and average sale price.”

   (See Opp’n at 12, 16, ECF No. 246-7, Ex. G at 4.) However, Zagg would not even confirm that




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   “the general premise” of such a chart was “moving the parties towards an agreeable resolution”

   (i.e., that Zagg would consent to vacate Paragraph 2 of the Court’s August 28 Order upon receipt

   of such a chart that contained the categories of information that DVG believed it could provide).

   (ECF No. 246-7, Ex. G at 2, 4.) As a result, DVG was forced to file this Motion by its Court-

   ordered deadline to do so.

          Zagg’s motive for demanding production of the chart without giving any indication that it

   would resolve the dispute is clear. Zagg knows that it is a near-impossible task for DVG to fully

   comply with the Order, given that it would require Mr. Ichilevici to put his business aside and

   instead work full-time on creating the “Order Details” screenshots for almost four-months.

   (Ichilevici Decl. ¶¶ 15–16.) Thus, the longer Zagg kept the Order hanging over DVG’s head, the

   more leverage it would have to demand more and more from DVG. As is clear from a cursory

   review of the parties’ correspondence on the subject, DVG’s counsel never demanded that Zagg

   “blindly and prematurely agree to vacate the Court’s Order” (Opp’n at 16); rather, it was Zagg that

   refused to meet and confer in good faith to correct an erroneous Order that it hoodwinked the Court

   into issuing.

          B.       Zagg Does Not Dispute that It Would Be Unduly Burdensome to Require DVG
                   to Create More than 40,000 Screenshots

          In addition to the clearly erroneous basis for the Order, reconsideration is warranted here

   because requiring DVG to create more than 40,000 screenshots (that would result in no substantive

   benefit to Zagg) would be a severe injustice. UMG Recordings, 2022 WL 19404297, at *1

   (explaining that “the need to correct clear error or prevent manifest injustice” is a ground which

   justifies reconsideration).

          Zagg cites the Lane v. Capital Acquisitions case for the proposition that “[t]he mere fact

   that compliance . . . will cause great labor and expense or even considerable hardship and



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   possibility of injury to the business of the party from whom discovery is sought does not of itself

   require denial of [request for discovery].” (Opp’n at 17 (quoting Lane v. Cap. Acquisitions, 242

   F.R.D. 667, 670 (S.D. Fla. 2005)).) But that same case continues on to clarify that, even when

   relevant, discovery must be proportional to the needs of the case, and the burden of production

   must be balanced against the benefit of the information requested:

          In making a decision regarding burdensomeness, a court should balance the burden
          on the interrogated party against the benefit to the discovering party of having the
          information. Discovery should be allowed unless the hardship is unreasonable in
          the light of the benefits to be secured from the discovery.

   Lane, 242 F.R.D. at 670 (cleaned up and emphasis added); see also, e.g., Fed. R. Civ. P. 26(b)(1)

   (“Parties may obtain discovery regarding any nonprivileged matter that is relevant to any party’s

   claim or defense and proportional to the needs of the case . . . .”) (emphasis added).

          At the August 28 Conference, the Court acknowledged that it would be burdensome for

   DVG to collect tens of thousands of individual screenshots one-by-one. (ECF No. 217, 8/28/24 Tr.

   at 35:20–21 (“THE COURT: . . . . I can understand that everything from 2020 to present is a lot if

   it has to be done one by one.”).) Nonetheless, the Court may not have fully appreciated the

   magnitude of the task, partially because Zagg’s counsel misrepresented that the screenshots did

   not need to be taken one by one (see id. at 36:22–36:9). Moreover, the Court’s analysis was

   premised on the finding that such screenshots would contain condition information, which they do

   not. Now that Zagg has finally conceded that the Order Details do not actually contain the

   condition information they are looking for, reconsideration is certainly warranted, as the balance

   of the burden on DVG far outweighs “the benefits to be secured from the discovery” (of which

   there are none).

          To not reconsider the Order would require forcing DVG, a company with a single

   employee, to expend almost four months of full-time work or upwards of $100,000 to create 40,000



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   new documents that do not include any of the information that this Court deemed relevant. (See

   Mot. at 8.) Such creation of documents is not something that is ordinarily included in the scope

   of a party’s “discovery obligations.” (Opp’n at 1); see, e.g., 3Shape A/S v. Carestream Dental,

   LLC, No. 1:22-CV-01829-WMR, 2023 WL 4048462, at *2 (N.D. Ga. May 9, 2023), report and

   recommendation adopted, 2023 WL 6940283 (N.D. Ga. Sept. 15, 2023) (“[T]here is no

   requirement for 3Shape to create documents responsive to DITC’s requests for financial

   information that do not already exist.”); Roca Labs, Inc. v. Consumer Opinion Corp., No. 8:14-

   CV-2096-T-33EAJ, 2015 WL 12915721, at *4 (M.D. Fla. Oct. 21, 2015) (“Defendant Consumer

   Opinion Corp. is not required to create documents simply for the purpose of producing them to

   Plaintiff.”). And, given the lack of any benefit to Zagg in the creation of such documents, these

   screenshots are not proportional to the needs of discovery in this case.

          Accordingly, for this reason too, DVG respectfully requests reconsideration of the August

   28 Order and that Zagg’s request for “Order Details” be denied.

          C.      It Is Zagg, Not DVG, That Is Needlessly Driving Up Costs and Wasting the
                  Court’s Time

          Ironically, Zagg argues that DVG is “attempt[ing] to mislead this Court and circumvent its

   discovery obligations” in support of a request for attorneys’ fees. (Opp’n at 19.)1 But it is Zagg’s

   conduct in this case, including its misrepresentations at the August 28 Conference as well as Zagg’s

   present Opposition—not DVG’s Motion—that is “inaccurate, incomplete, facetious, and




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     Zagg spends over half of its Opposition brief on a section entitled “Relevant Factual & Procedural
   Background.” (Opp’n at 3–13.) That section is filled with falsities and misrepresentations;
   however, since the history of the parties’ discovery disputes is only tangentially relevant to the
   issues to be decided in this Motion (especially because Zagg concedes that the Order is based on
   an erroneous finding of fact), DVG elects not to waste the Court’s time pointing out the
   misstatements. Nonetheless, in response to Zagg’s criticisms of DVG’s filing of Rule 72(a)
   objections (id. at 4 n.2), such objections are required for DVG to preserve the issues for appeal.


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   misleading to this Court.” (Opp’n at 19.) Indeed, as discussed, DVG attempted to resolve this

   issues with Zagg by producing a chart with the same “condition” information they represented to

   the Court that they were seeking (and that are not included in the Order Details compelled by the

   Court), but Zagg would not even confirm that “the general premise” of such a chart was “moving

   the parties towards an agreeable resolution.” (ECF No. 246-7, Ex. G at 2, 4.)

          Accordingly, there is no basis for Zagg’s requests for fees or any other remedies pursuant

   to Federal Rule of Civil Procedure 37(b)(2)(a)(i), and Zagg should be ordered to pay DVG’s

   reasonable attorneys’ fees in forcing DVG to bring the present motion to correct Zagg’s

   misrepresentations to the Court.

   III.   CONCLUSION

          For at least the foregoing reasons and those set forth in its Motion, DVG respectfully

   requests that the Court modify its Order and deny “ZAGG’s request to require DVG to produce

   ‘Order Details’ of ZAGG products sold by DVG from 2020 to the present.”




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   Dated: November 14, 2024
          Boca Raton, Florida



                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically

   filed, this 14th day of November, 2024 to:

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